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 1         I, F      M       C         , declare:
 2         1.     I have personal knowledge of the facts set forth herein, and if called as a
 3 witness, I could and would competently so testify. I make this declaration in support of
 4 Plaintiffs’ Motions for Preliminary Injunction and Provisional Class Certification.
 5         2.     I was incarcerated at FCI Dublin from December 2014 to March 2023. I am
 6 currently on supervision at a halfway house.
 7         3.     FCI Dublin’s inadequate systems for preventing, detecting, and responding
 8 to sexual abuse caused actual harm to myself and others incarcerated at FCI Dublin and
 9 put myself and other incarcerated persons at substantial risk of imminent serious harm
10 from sexual assault, harassment, and retaliation from staff.
11         4.     Officer Smith began harassing me sexually when he started working at FCI
12 Dublin in early 2016 or late 2015. Initially Officer Smith would look at me in a way I felt
13 was flirtatious. Then, he began to proposition me. While I was housed in the E Unit, I
14 asked a question about the visiting room. In response, he asked “What are you going to do
15 for me? Show me something.”
16         5.     Once, he locked me in the hot water room just before count. Officer Smith
17 refused to unlock it until I flashed him. This was a deeply humiliating experience. Officer
18 Smith would also follow me to the shower. He would circle back and forth. If I was going
19 into the shower, he would follow me, and I would go down the hall and I would go
20 downstairs to hide in someone’s room, and once he passed, I would turn back and find a
21 shower so he would not know where I was at. I always wondered if the cameras worked.
22 If they did, nobody cared about what they were seeing. I would literally run from my
23 room, down the stairs, and wait for him to pass just so I could shower without being
24 watched.
25         6.     On another occasion in Spring 2016, Officer Smith entered my room while I
26 was asleep. I awoke to him touching me in a private area, my vagina area. I was the only
27 one in my room, which is the reason I think he came in because he saw that there was no
28 one else there.
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 1         7.      I woke up and could feel Officer Smith’s hand under my covers touching me.
 2 He was digitally penetrating me. I grabbed his wrist and hand to get him to stop touching
 3 me. He smirked as I did this. Immediately after, he stopped touching me, got up, and
 4 walked out of the room. After, I got up, showered, and went to work out. Upon my return
 5 to the Unit, he was sitting in the officer’s station. He put his hands up to his nose and
 6 mouth area to sniff and lick his fingers. The sight devastated me. It becomes a thing
 7 where you just feel like it’s either okay or it’s your fault.
 8         8.      I think he knew he had gone too far. He was eventually demoted, but I am
 9 unsure if it was related to his harassment of me. However, even after he was demoted, he
10 would still work on the unit and constantly did overtime. I would watch him run towards
11 the showers to see who was at the showers. I always watched him and would peek around
12 corners just to see if he was still stalking the new, young girls. He seemed to target them
13 most of all. Some other incarcerated people would say “he would help me.” Officer Smith
14 participated in trading favors. If someone did what he wanted, he would make sure their
15 room was moved, that you got visitation, and other privileges.
16         9.      When I wanted to shower, I would take the long way around and hide at
17 various points so that he could not follow me. It never worked. He would always find me.
18 I was afraid to wash my hair and I’d still have to covertly check that he was not hiding
19 around my room waiting for me to get back.
20         10.     When I arrived at FCI Dublin in December 2014 they said PREA was
21 important to them and they try to prevent issues, but they focused on assaults by
22 incarcerated people, not staff, and I felt like they would just cover for each other. If you
23 told one staff person about something they would tell other staff, you go to the SHU and
24 get transferred. It felt like you were being punished for being a victim and for reporting it.
25 Officers would constantly retaliate and harass you. I felt like I had to smile and go with it
26 and keep your head down. Because if you didn’t, then it would get worse.
27         11.     Staff at FCI Dublin have never worn body-worn cameras in the facility and
28 despite ongoing sexual abuse and assault at the facility staff still do not use body-worn
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 1 cameras. There are some cameras installed in fixed locations in the facility, but it is well
 2 known that there are no cameras in the lobby, the TV rooms. A lot of the time, to my
 3 understanding, they did not work, or if they worked, the tape would already be cleared out.
 4 This is a prison; they should be responsible and more proactive. I have been in the lobby
 5 and TV rooms myself and saw there were no cameras there. Most of the time, the
 6 harassment happened in areas with cameras, but no one did anything. We assumed the
 7 cameras worked, but we were not sure. The only incident that happened in an area with no
 8 cameras was the hot water room incident in the lobby. The cameras that are installed are
 9 enclosed in dark colored glass and it is impossible to tell where they are pointing or
10 whether they are working.
11          12.    Reporting sexual assault and abuse at FCI Dublin was pointless. You would
12 get placed in the SHU and transferred or be interviewed and nothing would be done about
13 it. It was the culture to just go with it.
14          13.    Staff at FCI Dublin prevent people from reporting sexual assault and abuse
15 by staff and retaliate against people who do report. I was scared to report, as all the
16 officers stick together. I just wanted to keep my head down and do my time. I did not
17 want to make any enemies. The sexual harassment at Dublin was well known. It was the
18 culture there. Officer Klinger would always try to get me to the officer’s station in the
19 compound at night. He would make lewd comments at me. If I ran out of something that I
20 got at the Officer’s Station, like trash bags, I would rather run out than go see Klinger, or
21 really any officer. I did not want to be around them. All of these small things make the
22 bigger issue really come to life. It was every department. It was the way of life. All of
23 them against us. If you reported anything, they would say they would “look into it,” but
24 nothing ever happened. They have each other’s backs.
25          14.    When incarcerated persons report sexual assault and abuse by staff, FCI
26 Dublin and BOP do not seriously investigate the reports. Investigations are frequently
27 delayed and overseen by staff who know and work with the offending staff member.
28 Generally nothing happens as a result. I waited over a few years to report to psychology. I
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 1 went through something else in my life that was even more traumatic, and I saw that the
 2 other girls speaking up were being listened to. I wanted a clear conscience, I wanted it out,
 3 I wanted my story to be told and story to be heard. I saw people were starting to be
 4 believed and things were being done. So that’s why I ended up speaking out. I worked in
 5 the Captain’s complex for many years. All the officers and lieutenants are there. I so
 6 badly wanted to say something, but I kept my head down. The abuse I suffered by Officer
 7 Smith affects me to this day. I felt disgusted and disturbed by his actions, it made
 8 everything harder than it had to be and I did not deserve to be treated like that.
 9         15.    When I was there, there was no confidential mental health care available to
10 survivors of sexual abuse and assault at FCI Dublin. I heard about TriValley care when
11 they started coming in early 2023, but I did not know about it in 2015. We had never
12 heard of it then. I heard about them about a month before my transfer in March 2023, it
13 was not until attorneys got involved that we heard about them. It seemed that the attorneys
14 brought out TriValley care with them. I put a staff request to psychology, but I was
15 transferred before I heard anything.
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